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                          Exhibit 8
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                                                                         4
  1                          A. PAPPU

  2          A.     Good morning.

  3          Q.     We met off the record, but my name

  4   is Kelly Garcia.       I'm an attorney with the

  5   DOJ representing the United States in this

  6   matter.     I'm joined here today by Amanda

  7   Strick, who is also an attorney with the

  8   United States, and Morgan Feder, who is an

  9   attorney with the New York Attorney General's

10    Office, as well as everyone who you just

11    heard on the phone.

12           A.     Great.

13           Q.     Could you please start by stating

14    your full name on the record?

15           A.     Full name is Aparna Pappu.

16           Q.     Ms. Pappu, you're represented here

17    by counsel today, correct?

18           A.     These folks, right?

19                  Yeah, the lawyers.      Just checking.

20                  MS. GARCIA:     Counsel, could you

21           just clarify for the record that

22           you're here representing both the

23           party and the witness?

24                  MS. SESSIONS:     Yes, I'm here on

25           behalf of Google and the witness.
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                                                                        28
  1                         A. PAPPU

  2          Q.     Did you have any other roles at

  3   Google?

  4          A.     After that?

  5          Q.     Correct.

  6          A.     So after being responsible for the

  7   Ad Exchange, at some point, I can't remember

  8   exactly when, I was made responsible for the

  9   DFP, DoubleClick for the Publishers ad

10    serving team, or the team that -- the team

11    that built the system, as well the Ad

12    Exchange, so both those teams.

13                  And then at some point after that

14    was also made responsible for the AdSense

15    team, and then I left the ads team.

16           Q.     When did you leave the ads team?

17           A.     I left in 2018.

18           Q.     What was name of Google's Ad

19    Exchange while you were overseeing it?

20           A.     The Google Ad Exchange, I think.

21           Q.     Was it sometimes referred to as

22    AdX?

23           A.     AdX, yes, also.

24           Q.     You mentioned AdSense.

25                  What is AdSense?
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                                                                        29
  1                         A. PAPPU

  2          A.      AdSense is a product for

  3   publishers, also.       Typically smaller

  4   publishers where they can put a tag on their

  5   page that allows them to call Google for ads,

  6   basically.

  7          Q.      And how did AdSense differ from

  8   DFP at that time?

  9                  MS. SESSIONS:    Object to the

10           form.

11           A.      It's quite a big question, I would

12    say.    AdSense was a much more simple product

13    with very few controls because it was meant

14    for very simple, kind of, publisher use

15    cases, if you will.

16           Q.      In your prior answer, you

17    mentioned "smaller publishers."

18           A.      Yes.

19           Q.      How would you use that term?

20           A.      Meaning publishers who didn't have

21    a team who could configure -- like, could

22    hire people to run an ad server and things

23    like this.      Because it requires people to

24    administer.

25           Q.      And then by contrast, how would
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     USA v                         89118                          Aparna Pappu
      GOOGLE                             Highly Confidential

                                                                        30
  1                                  A. PAPPU

  2     you use the term "large publishers"?

  3            A.       A publisher that had a team that

  4     would set up inventory that actually had,

  5     sort of, a direct sales team that would sell

  6     this inventory and, you know, just more

  7     complexity as a result of that.

  8            Q.       And what product, if any, did

  9     Google market towards large publishers?

10             A.       DFP was the product that we built

11      for large publishers.

12             Q.       Okay.        Do you recall what your

13      title was when you were responsible for both

14      DFP and AdX?

15             A.       I had two.        At some point, I mean,

16      I was a director, and at some point I became

17      a vice president.

18             Q.       Do you recall approximately when

19      you became a vice president?

20             A.       Let me think back.                Not

21      100 percent certain, but I want to say 2017.

22             Q.       In your role as Vice President,

23      who did you report to?

24             A.       When I was Vice President, I

25      reported to Eisar Lipkovitz.


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                                                                        35
  1                         A. PAPPU

  2          Q.     Okay.   Am I correct that your

  3   e-mail address at Google is

  4   Apappu@google.com?

  5          A.     Yes.

  6          Q.     Has that been your work e-mail

  7   address since you joined Google in 2007?

  8          A.     Yes.

  9          Q.     Did you use any other e-mail

10    addresses to conduct business during your

11    time at Google?

12           A.     No.

13           Q.     Without revealing the substance of

14    any communications with counsel, did you

15    receive a litigation hold in this case?

16           A.     Yes.

17           Q.     Do you recall approximately when

18    you received the litigation hold?

19           A.     No.

20           Q.     Do you recall whether it was

21    before or after January 2023?

22           A.     No, don't recall.      It was

23    definitely -- 2023, yes, it was probably

24    before.

25           Q.     Before or after 2020?
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      GOOGLE                             Highly Confidential

                                                                           36
  1                                  A. PAPPU

  2            A.       Don't recall, sorry.

  3            Q.       Do use Chats to communicate with

  4     co-workers at Google?

  5            A.       Yes.

  6            Q.       How do you refer to those chats?

  7            A.       Chat.

  8            Q.       Okay.        And have you ever used

  9     Chats to refer to -- excuse me.                     Strike that.

10                      Have you ever used Chats to

11      communicate with co-workers about any aspect

12      of Google's digital advertising business?

13             A.       You mean for work?                Yeah.   We use

14      Chat as part of our normal day-to-day.

15             Q.       Have you taken any affirmative

16      steps to preserve Chats since receiving a

17      litigation hold in this case?

18             A.       I just follow whatever the system

19      is.

20             Q.       So can you tell me, one way or the

21      other, whether you took steps to turn history

22      on when discussing substantive matters?

23             A.       For work today?            I think history

24      is on by default now, but different --

25      different chat, I guess, configurations had


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      GOOGLE                             Highly Confidential

                                                                        37
  1                                  A. PAPPU

  2     different settings for these things, so,

  3     yeah.

  4            Q.       You said, "history is on by

  5     default now."

  6                     Was there a time when history was

  7     not on by default?

  8            A.       Yes.     I think it depended on, I

  9     believe, ad hoc chats because these are

10      informal, kind of, not super relevant in some

11      sense.      Like, just chitchat and that kind of

12      thing.      And those ad hoc chats, I believe,

13      were history of.

14             Q.       And how did you distinguish

15      between the ad hoc chat, as you described it,

16      and a substantive chat?

17             A.       Just a force of habit, usually, to

18      have substantive, kind of, conversations over

19      e-mail and Chat was more chitchat.

20             Q.       So just to be clear, were there

21      any different types of chats that you could

22      use at that time to have substantive

23      conversations?

24             A.       I don't know what that means.

25             Q.       If you wanted to have a


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      USA v                         89122                          Aparna Pappu
      GOOGLE                             Highly Confidential

                                                                        38
  1                                  A. PAPPU

  2     conversation, a casual conversation with a

  3     co-worker via Chat, would you use the same

  4     Chat system --

  5            A.       Yes.

  6            Q.       -- as you would use to have a more

  7     substantive conversation?

  8            A.       Yes.

  9            Q.       You said you left your role in --

 10     on the ad side in approximately 2018?

 11            A.       Yes.

 12            Q.       Do you recall whether history was

 13     on default at the time you left your position

 14     in 2018?

 15            A.       I don't recall.

 16            Q.       And if the default setting on a

 17     Chat group were history off, to your

 18     knowledge, how long would those chats be

 19     preserved?

 20            A.       No idea.

 21            Q.       Going back to your role as Vice

 22     President of Google Ad Manager, was it?

 23     Sorry.

 24                     When you were Vice President, what

 25     was your full title?


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                                                                       291
  1                          A. PAPPU

  2                 MS. GARCIA:     All right.     Well,

  3          thank you for your time.        I don't have

  4          any further questions.

  5                 THE WITNESS:     Okay.

  6                 MS. SESSIONS:      Per the

  7          Protective Order, we will mark the

  8          transcript as provisionally highly

  9          confidential.     For now we'd also like

 10          to read and sign.

 11                 And we have no questions for the

 12          witness, so we can go off the record.

 13                 THE VIDEOGRAPHER:      The time is

 14          5:43 p.m.    We're off the record.

 15                 (Whereupon, at 5:43 p.m., the

 16          Examination of this Witness was

 17          concluded.)

 18

 19

 20

 21              __________________________
                      APARNA PAPPU
 22
       Subscribed and sworn to before me
 23    this _____ day of ________, 2023.

 24    __________________________
            NOTARY PUBLIC
 25
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                                      ERRATA SHEET FOR THE TRANSCRIPT OF:

             Case Name:       United States et al. v. Google LLC

             Dep. Date:       August 11, 2023

             Deponent:        Aparna Pappu
                                                        CORRECTIONS:

           Page     Line     Changes or Corrections and Reasons

            21      19      The phrase “share this ad” should read “show this ad” (Transcription Error)
            31      16      The phrase “a tie that you could put on” should read “a tag that you could put on”
                            (Transcription Error)
            33      6       The name “Sasha Volkov” should read “Sasha Belikoff” (Transcription Error)
            33      8       The name “Tromu” should read “Crasmaru” (Transcription Error)
            33      8       The name “Nick Hilsinghul” should read “Nikhil Singhal” (Transcription Error)
            33      10      The name “Liz Gravenstein” should read “Liz Grabenstein” (Transcription Error)
            34      13-14 The phrase “once the publisher is configured” should read “once the publisher’s
                          configured” (Transcription Error)
            37      13      The phrase “were history of” should read “were history off” (Transcription Error)
            40      14-15 The phrase “the freshness of the data was engraved” should read “the freshness of
                          the data wasn’t great” (Transcription Error)
            45      22      The phrase “Exchange Bidding was a service” should read “Exchange Bidding
                            was a server” (Transcription Error)
            52      23      The sentence “I can’t remember the other.” should read “I can’t remember the
                            others.” (Transcription Error)
            61      21-22 The sentence “The Google Ad Exchange, yes, a second price auction.” should read
                          “The Google Ad Exchange, yes, it runs a second price auction.” (Transcription
                          Error)
            71      20      The phrase “not so much publisher Ad Exchange” should read “not so much
                            publisher or Ad Exchange” (Transcription Error)
            72      22-23 The phrase “whose name is outside of George and Max” should read “whose
                          names outside of George and Max” (Transcription Error)
            82      15      The phrase “this kind means” should read “this, kind of, means” (Transcription
                            Error)

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            85      16      The name “Woonji” should read “Woojin” (Transcription Error)
            85      17      The name “Woonji Kim” should read “Woojin Kim” (Transcription Error)
            91      9       The phrase “there were tags” should read “they were tags” (Transcription Error)
            93      3-4     The phrase “but I wouldn’t think – I don’t – it wasn’t a phrase.” should read “but I
                            wouldn’t think. It wasn’t a phrase.” (Transcription Error)
            102     15-16 The phrase “was that it’s not – it’s agencies. So it’s on behalf of advertisers.”
                          should read “was that it’s not. It’s agencies, so it’s on behalf of advertisers.”
                          (Transcription Error)
            129     12      The phrase “if publishers said” should read “if a publisher said” (Transcription
                            Error)
            140     9       The phrase “Google” should read “Google’s” (Transcription Error)
            141     20      The phrase “an engineer and GDN” should read “an engineer on the GDN”
                            (Transcription Error)
            144     25      The phrase “I don’t remember” should read “I don’t even remember”
                            (Transcription Error)
            150     15      The phrase “the customer account” should read “the customer count”
                            (Transcription Error)
            152     19      The phrase “I can’t compare to” should read “I can’t compare it to” (Transcription
                            Error)
            162     24-25 The phrase “other legitimate reasons” should read “are those legitimate reasons”
                          (Transcription Error)
            167     18      The phrase “the balance” should read “this balance” (Transcription Error)
            179     12      The sentence “Say again. Sorry.” should read “For this? Say again. Sorry.”
                            (Transcription Error)
            179     20      The phrase “that’s in a summary” should read “I send a summary” (Transcription
                            Error)
            181     22      The phrase “with direct sole” should read “with direct sale” (Transcription Error)
            195     25      The phrase “I know the contents in” should read “I know the concepts in”
                            (Transcription Error)
            210     10-11 The sentence “There’s no immediate, like, and the next day this happened.” should
                          read “There’s no immediate, like - the next day this happened.” (Transcription
                          Error)
            214     8-9     The phrase “publishers were weary of low quality ads” should read “publishers
                            were wary of low quality ads” (Transcription Error)


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            221     2       The phrase “engendering their trust” should read “engendering the trust”
                            (Transcription Error)
            222     14-15 The phrase “I don't know publishers were in favor of stricter policies” should read
                          “I don't know if publishers were in favor of stricter policies” (Transcription Error)
            223     12      The phrase “Within google” should read “Within Google” (Transcription Error)
            229     10-12 The sentence “Not part of his role, given an engineering is not technically part of
                          our roles.” should read “Not part of his role, given in engineering, it’s not
                          technically part of our roles.” (Transcription Error)
            229     17      The sentence “Oyes.” should read “Oh, yes.” (Transcription Error)
            229     25      The phrase “but it was clear” should read “but it’s clear” (Transcription Error)
            231     14      The phrase “there is” should read “there isn’t” (Transcription Error)
            233     15      The phrase “I don’t know what DFP specifically” should read “I don’t know what
                            seasonality specifically” (Transcription Error)
            235     7       The phrase “for this particular gapping feature” should read “for this particular gap
                            in feature” (Transcription Error)
            236     19      The phrase “we would keep in the AdX” should read “we would keep in the Ad
                            Exchange” (Transcription Error)
            269     5       The name “Shirish Kumar” should read “Suresh Kumar” (Transcription Error)
            272     11      The phrase “and talked about DFP's” should read “and I talked about DFP's”
                            (Transcription Error)
            273     21      The phrase “I believe complaints about something” should read “I believe had
                            complaints about something” (Transcription Error)
            280     2       The name “Sunani” should read “Sinaniyev” (Transcription Error)


             I have inspected and read my deposition and have listed all changes and corrections above, along
             with my reasons therefor.


                     9/8/2023
             Date: __________________________                Signature: ________________________________




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